Case 2:24-cv-00226-RWS-RSP           Document 11       Filed 05/15/25    Page 1 of 1 PageID #:
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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


 EIRE OG INNOVATIONS LTD.                    §
                                             §      CASE NO. 2:24-cv-00224-JRG-RSP
 v.                                          §               (Lead Case)
                                             §
 CISCO SYSTEMS, INC.                         §


 EIRE OG INNOVATIONS LTD.                    §
                                             §
 v.                                          §      CASE NO. 2:24-cv-00225-JRG-RSP
                                             §              (Member Case)
 FORTINET, INC.                              §


 EIRE OG INNOVATIONS LTD.                    §
                                             §
 v.                                          §      CASE NO. 2:24-cv-00226-JRG-RSP
                                             §              (Member Case)
 INTERNATIONAL BUSINESS                      §
 MACHINES CORPORATION                        §


 EIRE. OG INNOVATIONS LTD.                   §
                                             §
 v.                                          §      CASE NO. 2:24-cv-00227-JRG-RSP
                                             §              (Member Case)
 PALO ALTO NETWORKS, INC.                    §


                                            ORDER

         The undersigned hereby recuses himself with regard to the above entitled and numbered

 civil actions.


         So ORDERED and SIGNED this 15th day of May, 2025.




                                                         ____________________________________
                                                         RODNEY GILSTRAP
                                                         UNITED STATES DISTRICT JUDGE
